                                                                                            Case 2:20-cv-01484-CDS-DJA         Document 128     Filed 08/05/24   Page 1 of 2


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                                                                                              Kaercher Campbell & Associates Insurance Brokerage
                                                                                       7
                                                                                              of Nevada, LLC; Kaercher Insurance, an Alera
                                                                                       8      Group Agency, LLC

                                                                                       9                           UNITED STATES DISTRICT COURT

                                                                                       10                                     DISTRICT OF NEVADA
                      9900 Covington Cross Drive, Suite 120, Las Vegas, Nevada 89144




                                                                                       11     RSUI INDEMNITY COMPANY, a New                       ) Case No: 2:20-cv-01484-CDS-DJA
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                                                                                              Hampshire Stock Company; and EVANSTON               )
                                                                                       12     INSURANCE COMPANY, an Illinois corporation,         ) STIPULATION AND ORDER OF
                                                                                                                                                  ) DISMISSAL WITH PREJUDICE
                                                                                       13                                                         )
LIPSON NEILSON P.C.




                                                                                                                 Plaintiffs
                                                                                                                                                  )
                                                                                       14       vs.                                               )
                                                                                                                                                  )
                                                                                       15    SPORTSMAN’S ROYAL MANOR, LLC, a                      )
                                                                                             Nevada Limited Liability Company;                    )
                                                                                       16    DOMONIQUE BROWNING-PALMER,                           )
                                                                                             individually; GARY BRENNAN, individually,            )
                                                                                       17                                                         )
                                                                                                                 Defendants                       )
                                                                                       18                                                         )
                                                                                                                                                  )
                                                                                       19    SPORTSMAN’S ROYAL MANOR, LLC; GARY                   )
                                                                                             BRENNAN,                                             )
                                                                                       20                                                         )
                                                                                                                Counter-claimants                 )
                                                                                       21       vs.                                               )
                                                                                                                                                  )
                                                                                       22    RSUI INDEMNITY COMPANY; EVANSTON                     )
                                                                                             INSURANCE COMPANY; KAERCHER                          )
                                                                                       23    CAMPBELL & ASSOCIATES INSURANCE                      )
                                                                                             BROKERAGE OF NEVADA, LLC; KAERCHER                   )
                                                                                       24    INSURANCE, AN ALERA GROUP AGENCY,                    )
                                                                                             LLC and DOE DEFENDANTS 1-110; ROE                    )
                                                                                       25    DEFENDANTS 11-20;                                    )
                                                                                                                                                  )
                                                                                       26                       Counter-defendants                )

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                                                                                       2             The parties herein, Kaercher Campbell & Associates Insurance Brokerage of

                                                                                       3      Nevada, LLC and Kaercher Insurance, an Alera Group Agency, LLC (collectively,

                                                                                       4      “Kaercher Insurance”), and Dominique Browning-Palmer (“Browning-Palmer”), by and

                                                                                       5      through their respective undersigned counsel, hereby stipulate to dismiss all claims

                                                                                       6      between the above-named parties with prejudice. Each of the stipulating parties shall bear

                                                                                       7      their own costs and attorney’s fees with respect to the claims dismissed herein.

                                                                                       8       Dated this 2nd day of August, 2024               Dated this 2nd day of August, 2024
                                                                                       9       MATTHEW L. SHARP, LTD.                           LIPSON NEILSON P.C.
                                                                                       10
                                                                                                                                                G
                      9900 Covington Cross Drive, Suite 120, Las Vegas, Nevada 89144




                                                                                       11      /s/ Matthew L. Sharp________________
                                                                                                                                                _____________________________
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                                                                                       14
                                                                                               Attorney for Domonique Browning-Palmer
                                                                                                                                                Attorneys for Counterdefendants
                                                                                       15                                                       Kaercher Campbell & Associates
                                                                                       16                                                       Insurance Brokerage of Nevada, LLC;
                                                                                                                                                Kaercher Insurance, an Alera
                                                                                       17                                                       Group Agency, LLC

                                                                                       18

                                                                                       19
                                                                                                                                      ORDER
                                                                                       20

                                                                                       21           Based on the parties’ stipulation, this case is dismissed with prejudice, with

                                                                                       22    each party to bear its own costs and fees. The Clerk of Court is kindly instructed to

                                                                                       23    close this case.

                                                                                       24                                               __________________________________
                                                                                                                                        U.S. DISTRICT JUDGE
                                                                                       25                                                       August 5, 2024
                                                                                                                                        DATE: _____________________________
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